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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

      In re:                                § Chapter 11
                                            §
      Rooftop Group International Pte. Ltd. § Case No. 19-31443
                                            §
            Debtor.                         §

                    RESPONSE TO MOTION FOR ORDER
                 DECLARING AUTOMATIC STAY APPLIES TO
               DEBTOR PROPERTY UNDER AFFILIATE CONTROL

            Rooftop Group International Pte. Ltd., as debtor and debtor in
      possession (the “Debtor”) hereby files this response in opposition to the
      Motion for Order Declaring Automatic Stay Applies to Debtor Property
      Under Affiliate Control [Docket No. 47] (the “Stay Motion”) filed July 10,
      2019, by Triumphant Gold Limited (“TGL”) and respectfully states as
      follows:

                                          I.
                                     BACKGROUND

             1.      The Debtor is a private limited company organized under the
      laws of Singapore. At present, the Debtor has no operations and has no
      employees, and its remaining assets are composed almost entirely of certain
      patents, trademarks, and other intellectual property. In addition, the Debtor
      licenses its Propel brand to Amax Industrial Group China Co, Ltd. (“Amax”)
      under a nonexclusive license agreement (the “Amax License”).
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             2.       To preserve the value of its intellectual property assets for the
      benefit of all its unsecured creditors, on April 30, 2019 (the “Petition Date”),
      the Debtor filed a voluntary petition for relief under chapter 11. The Debtor
      has proposed selling its interest in certain intellectual property and the Amax
      License through a sale to be conducted under § 363. See Docket Nos. 40 and
      42.

              3.    On June 14, 2019, creditor Triumphant Gold Limited (“TGL”)
      filed its Motion to Dismiss Bankruptcy Filing or, Alternately, to Lift the
      Automatic Stay [Docket Nos. 26, 27] (the “Dismissal Motion”). After a
      preliminary hearing on July 3, 2019, TGL and the Debtor conducted
      discovery, including depositions, regarding the Dismissal Motion.

              4.     The Court held an evidentiary hearing on August 1, 2019
      regarding TGL’s Dismissal Motion and, on August 6, 2019, issued an oral
      ruling providing detailed findings of fact and conclusions of law and denying
      all relief requested in that motion.

                                          II.
                                       RESPONSE

      A.     The Stay Motion was not served on affected parties.

             5.      As a threshold matter, the Stay Motion suffers a fatal
      procedural defect—the Stay Motion was not served on any of the parties over
      whose businesses TGL asks this Court to extend the automatic stay. In the
      Stay Motion, TGL asks this Court to “extend” the protections of the
      automatic stay to protect assets in the hands of nondebtors in the belief that
      those assets are actually property of the Debtor’s bankruptcy estate and
      therefore subject to the same protections of § 362(a) that protect the Debtor
      and all its assets. In this way, the Stay Motion is a request to exercise its in
      rem jurisdiction over assets that TGL contends are property of the estate.

              6.     The Debtor has already introduced substantial evidence that
      the assets that TGL alleges may “arguably” be property of the estate are in
      fact the lawful property of those other nondebtor entities. At the hearing on
      this Motion, the Debtor will offer that same evidentiary record in opposition
      to the relief TGL seeks. However, the various nondebtor entities over whom
      TGL would have this Court exercise its jurisdiction are also entitled to notice

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      of the Stay Motion and an opportunity to present supporting evidence.
      TGL’s apparent failure to provide notice to any of those nondebtor entities is
      itself grounds for denial of the Stay Motion. For this reason alone, the Stay
      Motion should be denied.

      B.     TGL’s allegations have already been refuted.

             7.     Turning to more substantive grounds, TGL must concede that
      the allegations underpinning the requested relief overlap substantially—if
      not entirely—with the allegations TGL made in connection with its recently
      denied Dismissal Motion. Indeed, many of the factual allegations made in
      the background section of the Stay Motion (including entire paragraphs)
      were lifted nearly verbatim from the Dismissal Motion.

             8.     On August 1, 2019, the Court conducted a 6-hour evidentiary
      hearing, in the course of which the Court heard several hours of sworn
      testimony of two witnesses and received numerous documents into evidence.
      Based on that evidence, the Court denied the Dismissal Motion, making
      several findings that TGL’s allegations of bad faith, fraudulent transfers, and
      corporate mismanagement were simply not supported by the evidence or else
      were directly controverted by the evidence admitted at trial.

            9.      In support of its opposition to the Stay Motion, therefore, the
      Debtor asks this Court to take judicial notice of the documents admitted and
      sworn testimony received by the Court at the August 1, 2019, hearing on
      TGL’s two earlier motions. The Debtor asks further that the Court admit
      such evidence in connection with the Court’s adjudication of this Motion.

             10.    Based upon the evidentiary record already adduced in this case,
      there is no evidence to support—and much evidence to contradict—TGL’s
      claims that there is property of this Debtor’s estate currently in the
      possession, custody, or control of other entities.

      C.     The relief TGL seeks is unprecedented and unwarranted.

             11.    Turning to the legal basis of the Stay Motion, TGL advances
      two arguments: first, that the automatic stay may be extended to causes of
      action that seek to recover property of the estate from a nondebtor and,



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      second, that the automatic stay may be extended to protect property that is
      “arguably” property of the estate. Both arguments miss the mark.

              12.   Starting with the S.I. Acquisition decision, the Fifth Circuit was
      concerned not with the extension of the automatic stay to enjoin the use of
      property held in the hands of nondebtor entities, but the circumstances in
      which the continuation of a creditor’s pending lawsuit against a nondebtor
      might be barred by the automatic stay. S.I. Acquisition, Inc. v. Eastway
      Delivery Serv., Inc. (In re S.I. Acquisition, Inc.), 817 F.2d 1142, 1150 (5th
      Cir. 1987). Concluding that the plaintiff’s cause of action against the
      debtor’s controlling person was based on a claim that belonged to the debtor,
      the Fifth Circuit concluded that the lawsuit in question was one that could be
      asserted by the debtor itself. Id. at 1152 (“Since the corporation has an
      independent existence at law, we do not believe it is inconsistent in light of
      the above policy to say that a corporation may pierce its own corporate
      veil…”). Thus, the Fifth Circuit held, the claims asserted in the pending
      lawsuit were property of the estate such that § 362(a)(3) stayed their
      continued prosecution as an act to obtain possession of or exercise control
      over property of the estate. Id. at 1154.

             13.     The present case does not involve the situation addressed by
      the Fifth Circuit in S.I. Acquisition. Rather than seeking a determination
      whether the automatic stay bars continuation of a pending lawsuit in which
      the Debtor’s estate itself holds a property interest, TGL seeks to extend the
      automatic stay to enjoin nondebtors from using assets on the theory that those
      assets might belong to the Debtor. TGL thus turns its attention to In re
      Chesnut in an attempt to mingle the two cases into a single legal theory to
      support its extraordinary request for relief.

             14.    In Chesnut, the Fifth Circuit grappled with a different problem:
      whether a creditor violates the stay if, without first seeking stay relief, the
      creditor forecloses on an asset in which the debtor has an “arguable claim of
      right.” Brown v. Chesnut (In re Chesnut), 422 F.3d 298, 300 (5th Cir. 2005)
      (characterizing such property as “arguable property”). Explaining that “[n]ot
      ever bankruptcy petition…will transfer what is obviously not property of the
      estate into arguable property of the estate that is subject to process
      requirements,” the Fifth Circuit explained that the relevant inquiry is whether


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      ownership of the property “was subject to a non-frivolous suit.” Id. at 302,
      306. In Chesnut, the property in question was a parcel of land, and the non-
      frivolous dispute centered on whether it was the separate property of the
      debtor’s spouse or the community property of both the debtor and his spouse.

              15.    In the instant case, and in light of the Court’s recent ruling on
      the Dismissal Motion, TGL can point to no such “non-frivolous dispute.” To
      the contrary, each and every one of its contentions has been answered with
      documentary evidence and sworn testimony, and this Court has rejected
      those contentions on the basis of that evidence. Absent more, TGL’s mere
      belief or suspicion of a lingering property interest of the Debtor is insufficient
      to trigger the automatic stay under the Chesnut analysis.

              16.    It further bears note that in Chesnut, as in S.I. Acquisition, the
      automatic stay was invoked by the debtor to prevent a creditor from obtaining
      possession or control over property in which the debtor claimed an ownership
      interest. In both cases, the invocation of the automatic stay served to preserve
      the status quo by enjoining a foreclosing creditor from seeking to exercise
      control over property in which the debtor affirmatively expressed an interest.
      Here, the debtor has claimed no such interest in the property of the various
      nondebtors whom TGL seeks to enjoin. Instead, here the automatic stay is
      invoked by the creditor to enjoin nondebtors from using property in their
      current possession and control. Neither S.I. Acquisition nor Chesnut stands
      for the proposition that the injunctive reach of § 362(a) extends so far as that.

              17.     Further, the cases cited by TGL sought to extend the automatic
      stay to alleged property of the estate in the possession of a specific entity.
      Here, TGL seeks relief to be granted against any “affiliated or related non-
      debtor entities,” including certain enumerated entities and “any European
      affiliates of the Debtor.” As for those entities specifically named by TGL in
      its motion as the targets of its requested relief—




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                    (a)    Rooftop USA. The Court has already heard the credible
                           testimony of Darren Matloff regarding the ownership by
                           Rooftop USA of inventory and other assets in its
                           possession. This evidence was further corroborated by
                           the Star Funding intercreditor agreement, in which TGL
                           acknowledged both the ownership by Rooftop USA of
                           such assets and the inferiority to Star Funding of TGL’s
                           own security interest in such assets.

                    (b)    Rooftop Services. The Court has already heard the
                           credible testimony of Darren Matloff regarding the
                           current lack of any business activity or assets at Rooftop
                           Services.

                    (c)    Asian Express. TGL has made no specific allegation of
                           any property of the estate that it contends is presently in
                           the possession or control of Asian Express. The Debtor
                           submits there is none.

                    (d)    Gandiva. TGL has made no specific allegation of any
                           property of the estate that it contends is presently in the
                           possession or control of Gandiva. The Debtor submits
                           there is none.

                    (e)    Matloff Trust. TGL has made no specific allegation of
                           any property of the estate that it contends is presently in
                           the possession or control of the Matloff Trust. The
                           Debtor submits there is none.

             18.    Finally, although TGL does not specifically name Amax
      among the entities targeted in its prayer for relief, the Stay Motion
      nevertheless recycles TGL’s belief that the Debtor’s business has been
      somehow transferred from the Debtor to Amax, “strongly suggesting that
      Debtor’s founder intends to carry on the Debtor’s business operations while
      escaping his interest and principal obligations to lenders and fee obligations
      to parties such as Disney.” Motion ¶ 19. Again, however, the evidence in
      this case speaks squarely to the contrary.

             19.    The Debtor granted Amax a nonexclusive license for the
      Propel brand in a last-ditch effort to preserve the company’s business from
      oblivion following the severe underperformance of the Star Wars product
      line and the devastating effect of TGL’s onerous loan terms and repayment


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      cycle. On August 1, the Court heard the credible testimony of Darren Matloff
      on the reasons for his decision to grant the Amax license and, based on that
      evidence, concluded that the decision to grant the Amax license was a
      reasonable act of preservation that did not appropriate any business
      opportunity that would otherwise have remained available to the Debtor.

              20.    Were the Court to grant the relief TGL requests, it would be
      devastating to Amax’s business activity. An injunction “directing that the
      status quo is maintained” as to all purchase orders, receivables, and inventory
      currently in Amax’s hands would immediately grind its business to a halt and
      almost certainly put Amax out of business completely. More importantly to
      the interests of this Debtor’s estate, however, the inability of Amax to fulfill
      purchase orders would cut off any potential royalty revenue that would
      otherwise flow from Amax to the Debtor under that license agreement. The
      relief TGL seeks would therefore deprive this estate of actual value—not
      merely the “arguable” value of which TGL speaks—and send an immediate
      message to any other potential licensees that a Propel license is a worthless
      investment. TGL must not be permitted to continue its devastating attacks
      on the Debtor and other companies in its orbit. The Stay Motion should be
      denied.

              WHEREFORE, the Debtor respectfully requests that the Court deny
      the relief requested in the Stay Motion.




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      Dated: August 8, 2019
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                           CERTIFICATE OF SERVICE

             The undersigned certifies that, on August 8, 2019, a true and correct
      copy of the foregoing document was served via email or via the Court’s
      Electronic Case Filing (ECF) System upon TGL, the members of the official
      unsecured creditors’ committee, and all parties registered to receive
      electronic notices in this case. .

                                               /s/ Michael P. Cooley
                                               Michael P. Cooley




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